                                                               Case 2:20-cv-00972-JAD-EJY Document 22
                                                                                                   21 Filed 11/05/20
                                                                                                            11/02/20 Page 1 of 2



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                                                             Westcor Land Title Insurance Company
                                                         7
                                                                                           UNITED STATES DISTRICT COURT
                                                         8
                                                                                                  DISTRICT OF NEVADA
                                                         9
                                                             NATIONSTAR MORTGAGE LLC,                                   Case No.       2:20-cv-00972-JAD-EJY
                                                        10
                                                                                    Plaintiffs,
                                                        11
                     2450 St. Rose Parkway, Ste. #200




                                                             vs.
GERRARD COX LARSEN




                                                        12                                                                         ECF No. 21
                          Henderson, NV 89074




                                                             WESTCOR LAND TITLE INSURANCE
                              (702) 796-4000




                                                        13   COMPANY; DOES I THROUGH X; AND ROE
                                                             CORPORATIONS I THROUGH X
                                                        14
                                                        15                          Defendants.
                                                        16
                                                                                STIPULATION AND ORDER TO EXTEND TIME
                                                        17         TO FILE OPPOSITION TO MOTION FOR SUMMARY JUDGMENT AND TO FILE
                                                                             REPLY IN SUPPORT OF MOTION FOR CERTIFICATION
                                                        18
                                                                     Westcor Land Title Insurance Company (“Westcor”) and Nationstar Mortgage, LLC
                                                        19
                                                             (“Nationstar”), hereby stipulate and agree that Westcor shall have additional time, up to and
                                                        20
                                                             including November 19, 2020, to file its Opposition to Nationstar’s Motion for Partial Summary
                                                        21
                                                             Judgment on Coverage [ECF No.18] (“Opposition”) and that Nationstar shall have additional time,
                                                        22
                                                             up to and including November 12, 2020 to file its Reply in Support of Nationstar’s Motion to
                                                        23
                                                             Certify Questions to the Nevada Supreme Court [ECF No. 19] (“Reply”).
                                                        24
                                                                     Counsel for both parties face multiple deadlines in other cases leading up to and including
                                                        25
                                                             the due dates for the Opposition and the Reply. Counsel for Nationstar faced the additional burden
                                                        26
                                                             of responding to the Motion for Certification a week before the Opposition was due followed by an
                                                        27
                                                             all day settlement conference in another case. Both parties’ schedules were further complicated by
                                                        28
                                                             the recent Nevada Day holiday.
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 1          This is the parties’ first request for an extension of these deadline and is not intended to
 2   cause any delay or prejudice.
 3   DATED this 2nd day of November, 2020.                  DATED this 2nd day of November, 2020.
 4
 5   GERRARD COX LARSEN                                     AKERMAN, LLP
 6
     /s/ Douglas D. Gerrard, Esq.                           /s/ Jamie K. Combs, Esq.
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     Henderson, Nevada 89074                                Nevada Bar No. 13088
10   Attorneys for Defendant,                               Attorneys for Plaintiff,
11
            IT IS SO ORDERED.
12
13
14                                                          _________________________________
                                                            UNITED    STATES MAGISTRATE JUDGE
                                                            U.S. District
                                                            Case          Judge Jennifer A. Dorsey
                                                                 No.: 2:20-cv-000972-JAD-EJY
15                                                          Dated: November 5, 2020
16                                                          DATED: November        , 2020
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